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Eric Ewing vs Carnival Corporation
ROBERT EWING, JR.

 ·1· · · · · · · · UNITED STATES DISTRICT COURT
 ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA
 ·3· · · · · · · · · · · ·MIAMI DIVISION
 ·4· · · · · · · · · · · * * * * * * * *
 ·5· ·ERIC EWING,· · · · · · · ·*
 ·6· · · ·Plaintiff· · · · · · ·*· Case No.
 ·7· · · ·vs.· · · · · · · · · ·*· 19-cv-20264-CIV-GOODMAN
 ·8· ·CARNIVAL CORPORATION,· · ·*
 ·9· · · ·Defendant· · · · · · ·*
 10· · · · · · · · · · · * * * * * * * *
 11
 12· · · · · · · · · VIDEOTAPED DEPOSITION OF
 13· · · · · · · · · · ·ROBERT EWING, JR.
 14· · · · · · · · · · · October 2, 2019
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 ·1                                                              ·1· · · · · · · · · · · · ·I N D E X
 ·2· · · · · · · · · ·VIDEOTAPED DEPOSITION                      ·2
 ·3· · · · · · · · · · · · · · ·OF                               ·3· ·DISCUSSION AMONG PARTIES· · · · · · · · · · ·7 - 8
 ·4· ·ROBERT EWING, JR., taken on behalf of the Plaintiff        ·4· ·WITNESS: ROBERT EWING, JR.
 ·5· ·herein, pursuant to the Rules of Civil Procedure, taken    ·5· ·EXAMINATION
 ·6· ·before me, the undersigned, Michael G. Sargent, CVR, a     ·6· · · By Attorney Brais· · · · · · · · · · · · 8 - 36
 ·7· ·Court Reporter and Notary Public in and for the            ·7· ·EXAMINATION
 ·8· ·Commonwealth of Pennsylvania, Sargent’s Court Reporting    ·8· · · By Attorney Scarry· · · · · · · · · · · 36 - 61
 ·9· ·Service, Inc., 210 Main Street, Johnstown,
                                                                 ·9· ·DISCUSSION AMONG PARTIES· · · · · · · · · ·61 - 62
 10· ·Pennsylvania, on Wednesday, October 2, 2019, beginning
                                                                 10· ·CERTIFICATE· · · · · · · · · · · · · · · · · · ·63
 11· ·at 10:17 a.m.
                                                                 11
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 ·1· · · · · · · · · ·A P P E A R A N C E S                      ·1· · · · · · · · · · · · EXHIBIT PAGE
 ·2                                                              ·2
 ·3· ·KEITH S. BRAIS, ESQUIRE                                    ·3· · · · · · · · · · · · · · · · · · · · · · · PAGE
 ·4· ·Brais Law Firm                                             ·4· ·NUMBER· · · DESCRIPTION· · · · · · · · ·IDENTIFIED
 ·5· ·Dadeland Towers                                            ·5· · · · · · · · · · · · NONE OFFERED
 ·6· ·9300 South Dadeland Boulevard, Suite 101                   ·6
 ·7· ·Miami, FL· 33156                                           ·7
 ·8· · · ·COUNSEL FOR PLAINTIFF                                  ·8
 ·9                                                              ·9
 10· ·BRIAN T. SCARRY, ESQUIRE                                   10
 11· ·Horr, Novak and Skipp, PC                                  11
 12· ·Two Datran Center, Suite 1700                              12
 13· ·9130 South Dadeland Boulevard                              13
 14· ·Miami, FL· 33156                                           14
 15· · · ·COUNSEL FOR DEFENDANT                                  15
 16· · · ·(via telephone)                                        16
 17                                                              17
 18                                                              18
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 ·1· · · · · · · · · · · ·OBJECTION PAGE                          ·1· ·Keith Brais, on behalf of Eric Ewing, the
 ·2                                                               ·2· ·Plaintiff.
 ·3· ·ATTORNEY· · · · · · · · · · · · · · · · · · PAGE            ·3· ·ATTORNEY SCARRY:
 ·4· ·Scarry· · · · · · · · · · · · · · 17, 19, 23, 35            ·4· ·And this is Brian Scarry, on behalf of
 ·5· ·Brais· · · · · · · · · · · · ·39, 42, 48, 53, 57            ·5· ·Defendant, Carnival Corporation.
 ·6                                                               ·6· ·VIDEOGRAPHER:
 ·7                                                               ·7· ·At this time the court reporter may now
 ·8                                                               ·8· ·swear in the witness.
 ·9                                                               ·9· ·COURT REPORTER:
 10                                                               10· ·Okay.
 11                                                               11· ·Mr. Ewing, can you raise your right hand,
 12                                                               12· ·please?
 13                                                               13· · · · · · · · · · · · · · ---
 14                                                               14· · · · · · · · · · ·ROBERT EWING, JR.,
 15                                                               15· ·CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND
 16                                                               16· ·HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS
 17                                                               17· ·FOLLOWS:
 18                                                               18· · · · · · · · · · · · · · ---
 19                                                               19· · · · · · · · · · · · EXAMINATION
 20                                                               20· · · · · · · · · · · · · · ---
 21                                                               21· ·BY ATTORNEY BRAIS:
 22                                                               22· ·Q.Sir, could you please provide us your full name?
 23                                                               23· ·A.Robert Eugene Ewing, Jr.
 24                                                               24· ·Q.Okay.
 25                                                               25· ·Now, this is what’s referred to as a deposition.

                                                         Page 7                                                             Page 9
 ·1· · · · · · · · · ·S T I P U L A T I O N                       ·1· ·I know you were just sworn in by the court reporter.
 ·2· ·------------------------------------------------------      ·2· ·Have you ever had a deposition taken before?
 ·3· ·(It is hereby stipulated and agreed by and between          ·3· ·A.No.
 ·4· ·counsel for the respective parties that reading,            ·4· ·Q.Let me tell you some rules that help.· The court
 ·5· ·signing, sealing, certification and filing are              ·5· ·reporter will only be able to take down one person at a
 ·6· ·waived.)                                                    ·6· ·time.· So it’s really important for me to --- that only
 ·7· ·------------------------------------------------------      ·7· ·one of us talk at a time, which in this case is going
 ·8· · · · · · · · · ·P R O C E E D I N G S                       ·8· ·to mean that I’m going to ask some questions, if you’d
 ·9· ·------------------------------------------------------      ·9· ·wait until I’m done, make sure you understand the
 10· ·VIDEOGRAPHER:                                               10· ·question, try to answer just the question, if you
 11· ·We are now on the record.                                   11· ·would.
 12· ·My name is Nicholas Clark.· I’m the                         12· ·Counsel for the other side may or may not pose an
 13· ·videographer present on behalf of Orange Legal              13· ·objection.· The objection is not intended to disrupt
 14· ·Reporting.                                                  14· ·the deposition.· It’s only something for the Court to
 15· ·The date today is October 2nd, 2019.· The                   15· ·look at later.
 16· ·current time on the video monitor is 10:17 a.m.· This       16· ·If you understood the question, go ahead and
 17· ·deposition is being taken at 210 Main Street,               17· ·answer it.· If you want the question read back to you,
 18· ·Johnstown, Pennsylvania, 15901.                             18· ·if you’re not sure what the question was, go ahead and
 19· ·In the United States District Court for                     19· ·ask.· Those are the things that you can do to make it
 20· ·the Southern District of Florida, Miami Division, Eric      20· ·go smoothly.
 21· ·Ewing versus Carnival Corporation.                          21· ·At certain times I may ask you questions.· And in
 22· ·The name of the witness is Robert Ewing.                    22· ·your mind’s eye, it’s a yes with your head or a no with
 23· ·Will the attorneys present state their                      23· ·your head.· That won’t be taken down by the court
 24· ·names and the parties they represent?                       24· ·reporter, so you have to speak aloud every one of your
 25· ·ATTORNEY BRAIS:                                             25· ·answers.

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 ·1· ·At various times, you’re allowed, at your leisure,       ·1· ·A.We used to go fishing together, deer hunting
 ·2· ·if you need to take a break at any time, go ahead and    ·2· ·together.· I took him to Wyoming fishing.· I took him
 ·3· ·do that.· Let us know.· We’ll be happy to take a break   ·3· ·on many cruises.· Thanksgiving dinners and Christmas
 ·4· ·for you.                                                 ·4· ·dinners we’d share together.· That’s --- it was a
 ·5· ·Okay?                                                    ·5· ·fairly close relationship.
 ·6· ·A.Okay.                                                  ·6· ·Q.Okay.
 ·7· ·Q.Perfect.                                               ·7· ·When he was in high school, were you --- did you
 ·8· ·Where are we today, sir?· What town and city?            ·8· ·have any contact with him then?
 ·9· ·A.Johnstown, Pennsylvania.                               ·9· ·A.I was his tenth grade history teacher.· I was also
 10· ·Q.And are we at a court reporter’s office?               10· ·his football coach.
 11· ·A.I believe that’s what it is.                           11· ·Q.Would you call it a close relationship or at least
 12· ·Q.Okay.                                                  12· ·in the latter years when you spent time together?
 13· ·Do you have an understanding, we’re here to talk         13· ·A.Well, yeah, obviously, since we spent time
 14· ·about a person, Eric Ewing, and his lawsuit against      14· ·together doing these things I just talked about.
 15· ·Carnival Corporation?· You know that much.               15· ·Q.Okay.
 16· ·Correct?                                                 16· ·You mentioned something about went on cruises.
 17· ·A.Yes, I do.                                             17· ·Tell us a little bit about the cruises that you and
 18· ·Q.Okay.                                                  18· ·Eric went on together.
 19· ·What’s your relationship with Eric Ewing?                19· ·A.Well, they were over --- I can’t give you an exact
 20· ·A.He’s my brother.                                       20· ·amount.· Twenty (20) some cruises that I would take him
 21· ·Q.Before we get too much further, where do you live,     21· ·and my mom on, all on Carnival.· We loved Carnival.
 22· ·sir?                                                     22· ·And we went on excursions together on the cruises.
 23· ·A.In Jerome, Pennsylvania.                               23· ·Q.Now, you said something, you would take him ---?
 24· ·Q.Okay.                                                  24· ·A.And my mother.
 25· ·How old are you, sir?                                    25· ·Q.And your mother?· Who would pay for these cruises?
                                                     Page 11                                                        Page 13
 ·1· ·A.Seventy-one (71).                                      ·1· ·A.I paid for almost all of them.
 ·2· ·Q.Do you know how old Eric is now, roughly?              ·2· ·Q.Is there a reason you paid for almost all of the
 ·3· ·A.He was born when I was 18, so that would make him      ·3· ·cruises?
 ·4· ·53, I believe.                                           ·4· ·A.Well, yeah, because he and my mom weren’t making a
 ·5· ·Q.Okay.                                                  ·5· ·lot of money.· And I appreciated what he did, taking
 ·6· ·So you’re the big brother?                               ·6· ·care of my mother like that.· And to show my
 ·7· ·A.Yes, I am.                                             ·7· ·appreciation, that’s one thing I did for him.
 ·8· ·Q.Okay.                                                  ·8· ·Q.Okay.
 ·9· ·Tell me just a little bit about your relationship,       ·9· ·Did there come a time when your mom lost her
 10· ·you being 17, 18 years senior to Eric, when you were     10· ·husband, your dad?
 11· ·growing up.                                              11· ·A.1990 my dad died.
 12· ·A.Well, when he was born, I just graduated, went to      12· ·Q.And you said something about you appreciated Eric
 13· ·college.· So I didn’t have a lot of interaction with     13· ·taking care of your mom.· About when did he start to,
 14· ·him at an early age.                                     14· ·as you put it, take care of your mom?
 15· ·I got drafted in ‘69.· I didn’t see him in ‘69,          15· ·Do you know about when?
 16· ·‘70 or ‘71.· I was in Vietnam.                           16· ·A.I can’t give you the exact date.· I would say
 17· ·And then when I came home, I went to Florida to          17· ·1998, maybe.· When he moved back here.· Up until that
 18· ·work.· So I wasn’t near him as much then.                18· ·point, my wife and I looked after my mom.· She still
 19· ·But then when I moved back to Jerome and they            19· ·could drive then, but then she slowly went downhill.
 20· ·moved back to Jerome, then we had a fairly close         20· ·And that’s why he moved back in with her, to take care
 21· ·relationship.                                            21· ·of her.
 22· ·Q.Okay.                                                  22· ·Q.So when you say he moved back in with her, is that
 23· ·When you say close relationship, on what occasions       23· ·the home that she was living in?
 24· ·or circumstances would you have interaction with your    24· ·A.Yes.
 25· ·brother?                                                 25· ·Q.When Eric moved in with your mom, did Eric have

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 ·1· ·any children at that time?                                ·1· ·And when we came home, we put her in the hospital.
 ·2· ·A.Yes.· He had a young daughter and a young son.          ·2· ·We had to take her to the hospital.· And they kept her
 ·3· ·Q.And the daughter’s name is what?                        ·3· ·in the hospital for, I don’t know, a week or so.· And
 ·4· ·A.Amanda.                                                 ·4· ·then the doctor recommended that she go to a nursing
 ·5· ·Q.Is she the older of the two?                            ·5· ·facility to rehab before she could come home back to
 ·6· ·A.Yes.                                                    ·6· ·live with Eric.
 ·7· ·Q.And the young son is --- what’s his name?               ·7· ·Q.Okay.
 ·8· ·A.Well, his real name’s Eric, but we call him Ricky.      ·8· ·If Eric kind of became --- would you kind of call
 ·9· ·Q.Is he a junior?                                         ·9· ·him a bit of a caregiver for your mother, beginning in
 10· ·A.I don’t know.                                           10· ·about ‘98, ‘99, say?
 11· ·Q.Okay.                                                   11· ·A.Somewhere in there, yes.· He took complete --- he
 12· ·A.I never asked.                                          12· ·cooked for her.· He cleaned the house for her.· There
 13· ·Q.Okay.                                                   13· ·were steep steps in the house.· He would have to go up
 14· ·ATTORNEY BRAIS:                                           14· ·and help her go down those steps.
 15· ·Yes, Brian?                                               15· ·So yeah, he was taking care --- as well as the two
 16· ·ATTORNEY SCARRY:                                          16· ·kids they had, too.
 17· ·I laughed.                                                17· ·Q.Okay.· All right.
 18· ·ATTORNEY BRAIS:                                           18· ·So it was because of some health issues your mom
 19· ·Okay.                                                     19· ·didn’t join you on this cruise we’re talking about?
 20· ·BY ATTORNEY BRAIS:                                        20· ·A.Right.
 21· ·Q.Okay.· So you said there was 20-some cruises.           21· ·Q.Did that leave Eric in room --- or Cabin R298 by
 22· ·Were they before the cruise we’re here to talk            22· ·himself during that cruise?
 23· ·about?· Were they all on Carnival?                        23· ·A.Yes, it did.· That was the room we normally booked
 24· ·A.One time we went Royal Caribbean and we didn’t          24· ·on the Paradise, if we could get it.
 25· ·like it.· So we stayed with Carnival.                     25· ·Q.Okay.
                                                      Page 15                                                       Page 17
 ·1· ·Q.All right.                                              ·1· ·Was this the Paradise or the ---?
 ·2· ·Now, you said that your mom, for the most part,           ·2· ·A.Oh, no.· Excuse me.· It wasn’t Paradise.· I’m
 ·3· ·joined you on those cruises?                              ·3· ·thinking of Tampa and the Paradise, where we also got
 ·4· ·A.Yes.                                                    ·4· ·298.
 ·5· ·Q.Okay.                                                   ·5· ·But you’re right, it was out of Charleston. I
 ·6· ·Did your mom have any issues regarding her health         ·6· ·don’t know if it was the Ecstasy or the Fantasy or
 ·7· ·that required special accommodations on the ship?         ·7· ·--- there’s so many Ecstasies in Carnival.
 ·8· ·A.Well, she --- we always tried to get her a              ·8· ·Q.Okay.· All right.
 ·9· ·handicapped room, normally, 298 on the smaller ships.     ·9· ·But you’re certain about this handicapped room
 10· ·It had to be wheelchair-accessible because we would       10· ·being the one that was booked?
 11· ·push her around the ship on a wheelchair to dinner or     11· ·A.Oh, yes.· I know that factly.
 12· ·to a show or to anything else.                            12· ·Q.All right.· All right.
 13· ·Q.And on the subject cruise we’re here to talk            13· ·Do you recall if that ship departed from
 14· ·about, if my notes are correct, would have been           14· ·Charleston on a Sunday?
 15· ·January 21st, 2018, out of Charleston, South Carolina.    15· ·A.I honestly don’t remember what day it went out.
 16· ·Does that sound about right?                              16· ·Q.Do you remember being on the ship for several days
 17· ·A.That’s --- yes.                                         17· ·before anything happened involving Eric?
 18· ·Q.Okay.                                                   18· ·A.Yes.
 19· ·On that cruise, was your mom supposed to come?            19· ·ATTORNEY SCARRY:
 20· ·A.She was booked on that cruise, yes.                     20· ·Objection to form.
 21· ·Q.Did your mom end up coming?                             21· ·BY ATTORNEY BRAIS:
 22· ·A.No, she did not.                                        22· ·Q.How many days were you on board the ship before
 23· ·Q.What was the reason your mom didn’t end up coming?      23· ·anything involving Eric occurred?
 24· ·A.We had a Carnival Cruise in November, and she fell      24· ·A.I can’t give you an exact date there.· I’m
 25· ·several times.· As I said, she was slowly fading.         25· ·thinking the fifth day.· Somewhere around the fifth,

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 ·1· ·fourth, fifth or sixth day is when this occurred.         ·1· ·A.Well, of course.
 ·2· ·Q.Okay.                                                   ·2· ·Q.Okay.
 ·3· ·So tell us, how did you learn that anything had           ·3· ·What did you see?· How did he look?
 ·4· ·happened involving Eric?                                  ·4· ·A.He was sitting on the bed with his head down.· And
 ·5· ·A.I came back to the room that evening, and my wife       ·5· ·I went up to him and I said, what happened?· And he
 ·6· ·told me that Eric called and he had been injured. I       ·6· ·lifted his head up.· And it looked like there was a
 ·7· ·immediately went down to his room.· His room was only     ·7· ·little dried blood, red mark, on his forehead.
 ·8· ·like four doors down from ours.                           ·8· ·Q.Do you remember if that was on the left side of
 ·9· ·Q.Okay.                                                   ·9· ·his forehead or the right?
 10· ·Do you know about what time of the day that was?          10· ·A.No, I don’t, honestly.
 11· ·A.Honestly, I can’t remember if it was late               11· ·Q.Okay.
 12· ·afternoon or early evening.                               12· ·Did you talk to Eric at that time?
 13· ·Q.Okay.                                                   13· ·A.Yes, I did.· I said, what happened?
 14· ·When you --- did you enter Eric’s room, R298?             14· ·Q.What did he say?
 15· ·A.Yes, I did.                                             15· ·A.He said he just sat down to eat and the bed fell
 16· ·Q.And what did you see or hear?                           16· ·down and hit him on the head.
 17· ·A.Eric was sitting on the corner of the bed.· The         17· ·Q.Okay.
 18· ·bed above him was down.· And I think he had a plate of    18· ·What’s the next thing that happened?
 19· ·food with pizza either on the bed or on the counter       19· ·A.Well, I said to him, we have to go to the medical
 20· ·beside him.· He had some kind of food when I approached   20· ·center, then.· And so I walked him down to the medical
 21· ·him.                                                      21· ·center.
 22· ·Q.When you say the bed above him was down, are you        22· ·And we went into the --- well, we had to take the
 23· ·talking about an upper bunk?                              23· ·elevator down.· And we went into the medical center.
 24· ·A.Yes.· The upper bunk was down, right over his head      24· ·And we were standing there waiting to see the doctor
 25· ·at that point.                                            25· ·when two security agents came in, talked to us, asked
                                                      Page 19                                                        Page 21
 ·1· ·No, he had slid out from that.· But the upper bunk        ·1· ·what happened.· Eric told them.
 ·2· ·was down.                                                 ·2· ·And then I distinctly remember this.· When we were
 ·3· ·Q.Okay.                                                   ·3· ·waiting for the doctor, I looked at the two security
 ·4· ·What was the --- what was Eric’s general                  ·4· ·agents and I said, who’s in charge here?· And the one
 ·5· ·appearance?· How did he look?· Was there anything you     ·5· ·gentleman said, I am.
 ·6· ·noticed?                                                  ·6· ·And I started laughing.· And he said, what’s so
 ·7· ·A.Well, ---.                                              ·7· ·funny?· I said, well, because you have a silver badge
 ·8· ·ATTORNEY SCARRY:                                          ·8· ·and he has a gold badge, and I thought because he had
 ·9· ·Form.                                                     ·9· ·the gold badge, he’d be in charge.· And they laughed
 10· ·BY ATTORNEY BRAIS:                                        10· ·and said, no, the silver badge guy’s in charge.
 11· ·Q.How was Eric’s general appearance, when ---?            11· ·Q.So before you get too far along, do you remember
 12· ·Just so you know what’s happening, if there’s an          12· ·--- and if you don’t, that’s fine.· I know this event
 13· ·objection to form, I have the option to rephrase to       13· ·occurred a while back.
 14· ·clarify the question.                                     14· ·Do you remember if anyone from ship’s medical
 15· ·A.Okay.                                                   15· ·arrived at Eric’s cabin with a wheelchair to bring him
 16· ·Q.So I’m trying to do that to simplify the process,       16· ·down to the infirmary?
 17· ·as opposed to having a standing objection in place or     17· ·A.No.
 18· ·an objection in place.                                    18· ·Q.Okay.
 19· ·A.When I first approached ---.                            19· ·You said you walked him down.
 20· ·Q.You got to let me finish the question ---               20· ·Correct?
 21· ·A.Oh, sorry.· Sorry.                                      21· ·A.I believe --- to the best of my recollection, I
 22· ·Q.--- again, so there’s a question and answer.            22· ·walked him down.
 23· ·A.All right.                                              23· ·Q.Okay.
 24· ·Q.So when you entered the room, did you take a look       24· ·Inside the infirmary, you mentioned that you met
 25· ·at Eric?                                                  25· ·this --- we’ll call them the gold badge and the silver

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 ·1· ·badge security personnel?                                 ·1· ·hundred percent.· And, Eric, you’re going to have to
 ·2· ·A.Yes.                                                    ·2· ·have an MRI when you get home.· And she wrote something
 ·3· ·Q.Okay.                                                   ·3· ·down, I believe, was a script for an MRI.· But I can’t
 ·4· ·Did the ship’s doctor ever examine Eric?                  ·4· ·prove that, because I never saw it.
 ·5· ·A.Yes.                                                    ·5· ·But I know she wrote something down on a piece of
 ·6· ·Q.Were you present?                                       ·6· ·paper and handed it to Eric and said you have to have
 ·7· ·A.Yes.                                                    ·7· ·an MRI when you get back.
 ·8· ·Q.Could you tell us what you saw and heard?               ·8· ·And then we went back to his room.
 ·9· ·A.We went in and sat down.· And they were talking         ·9· ·Q.Okay.
 10· ·about what happened.                                      10· ·Did there come a time later when you were in
 11· ·And then she took out a flashlight and she shined         11· ·Eric’s room and there were security personnel in there
 12· ·it in Eric’s eyes.· And she said --- he or she, I don’t   12· ·and anyone else taking a look at the upper bunk?
 13· ·know if it was a man or woman now.· Whoever the doctor    13· ·A.Well, the two --- the silver badge and the gold
 14· ·was.· The doctor said, you don’t have a concussion,       14· ·badge, if that’s what you call them, they came back
 15· ·because your pupils dilated.                              15· ·with us to the room.
 16· ·And I said, excuse me.· I coached football for a          16· ·And while --- should I continue?
 17· ·number of years.· I’ve dealt with concussions.· And       17· ·Q.Yep.
 18· ·that was always the standard test.· You’d shine a light   18· ·A.And while we were in the room talking and they
 19· ·in their eyes.· If their pupils dilated, they didn’t      19· ·were asking Eric questions about it --- now, here’s
 20· ·have a concussion.                                        20· ·where it gets a little hazy.
 21· ·But I know on two occasions I administered that           21· ·Either the security --- one of the security guys
 22· ·test to two of my football players and their pupils       22· ·went over and twisted that up and did something, I
 23· ·dilated.· And then that Monday they came to practice      23· ·don’t know.· And then pushed on the bed and it came
 24· ·and they said, coach, we can’t play for two weeks.· We    24· ·down or --- this is why I say it’s hazy.· The other one
 25· ·have concussions.                                         25· ·contacted I don’t know who to come to the room.
                                                      Page 23                                                         Page 25
 ·1· ·And I said, how do you know that?· And they said          ·1· ·And five minutes later, a man in a gray suit,
 ·2· ·that night after we got home, we started vomiting and     ·2· ·jumpsuit, came in the room.
 ·3· ·the parents took them to the emergency room.· And then    ·3· ·Q.Like coveralls?· Is that what you mean?
 ·4· ·they administered some kind of test.· And they said,      ·4· ·A.Coveralls, yeah.
 ·5· ·yes, you have a concussion.                               ·5· ·Q.Okay.
 ·6· ·So I know for a fact that shining the pupil ---           ·6· ·A.Complete --- yeah.
 ·7· ·shining the light in someone’s eyes is not a hundred      ·7· ·He went over.· He talked to them.· He went over to
 ·8· ·percent proof that the person doesn’t have a              ·8· ·the bed.· And that’s where I say I don’t know if he was
 ·9· ·concussion.                                               ·9· ·the one that pushed it up and it came back down or if
 10· ·The doctor then agreed with me.                           10· ·security did.· They pushed it up and it came back down.
 11· ·Q.Okay.                                                   11· ·I don’t remember which one did it, because I was
 12· ·Now, what did the doctor say to that?                     12· ·talking to Eric at this time.
 13· ·A.Okay.· The doctor then agreed that ---.                 13· ·Q.Are you certain that one of them did it, no matter
 14· ·ATTORNEY SCARRY:                                          14· ·which one it may have been?
 15· ·Object to the form.                                       15· ·A.One of them did it.· One of them pushed that bed
 16· ·ATTORNEY BRAIS:                                           16· ·up against something, and pushed on the bed and it came
 17· ·You’re objecting to the form, to the                      17· ·back down.
 18· ·question that says what did the doctor say in response?   18· ·And then I saw him reach up.· While the bed was
 19· ·ATTORNEY SCARRY:                                          19· ·down, he reached up and he did something, I don’t know
 20· ·Yes.                                                      20· ·what it was, in the bed and then pushed the bed back up
 21· ·ATTORNEY BRAIS:                                           21· ·and locked it.· And then he pushed on it and it didn’t
 22· ·Okay.                                                     22· ·come back down.
 23· ·BY ATTORNEY BRAIS:                                        23· ·Q.Okay.
 24· ·Q.Go ahead.                                               24· ·A.And then he left.· And then security left, and
 25· ·A.The doctor then said, that is true, it is not a         25· ·then I sat with Eric for a little bit.· And he said he

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 ·1· ·wanted to go to sleep.· He wasn’t feeling good.            ·1· ·that’s when my wife and son go to state’s wrestling
 ·2· ·So I then went back to my room.                            ·2· ·tournament and I don’t want to go without them.· And he
 ·3· ·Q.How was Eric for the remainder of the cruise?            ·3· ·said, no, just you and I will go, just you and I will
 ·4· ·A.He stayed in his room, basically.· I called him          ·4· ·go.· And I said, okay, Eric, I’ll go on that cruise
 ·5· ·the next day to go eat breakfast.· He didn’t want to       ·5· ·with you.
 ·6· ·go.                                                        ·6· ·So I went ahead and booked Premier cruise. I
 ·7· ·The next night --- we always gambled together. I           ·7· ·believe it was the end of February.
 ·8· ·went down to see, do you want to go out to the casino?     ·8· ·I know there weren’t many days between when we
 ·9· ·He said, no, he doesn’t feel good.· And he stayed in       ·9· ·came home from our February cruise out of Tampa to this
 10· ·bed that day, that I know of.                              10· ·Premier cruise.· Only like four or five or six days
 11· ·Q.Okay.                                                    11· ·between the two cruises.
 12· ·Was --- were these cruises one of the things that          12· ·But I went ahead and booked that cruise for us.
 13· ·Eric really enjoyed?                                       13· ·Q.Okay.
 14· ·A.He talked me into cruising.· I never wanted to           14· ·Now, following the shipboard event that we’re here
 15· ·cruise.· He’s the one that talked me into cruising and     15· ·to talk about, did Eric ever make the February Tampa
 16· ·how great cruising was and how much fun we’d have          16· ·cruise on board the Carnival ship?
 17· ·cruising.                                                  17· ·A.No.
 18· ·As a matter of fact, after the November cruise             18· ·Q.Following the shipboard event we’re here to talk
 19· ·with my mother, and she got ill, I had already booked      19· ·about, did Eric ever make it on board the Premier
 20· ·cruises in January, February and April or May for him      20· ·cruise in the April or May time frame that had already
 21· ·and my mother.                                             21· ·been booked?
 22· ·Q.So I want to go over that sequence for you.              22· ·A.No.
 23· ·It was the November cruise where your mom had a            23· ·Q.Okay.
 24· ·couple falls.· There’s the January cruise we’re here to    24· ·So was Eric joining --- was it customary for Eric
 25· ·talk about?                                                25· ·to join everyone either for breakfast, lunch or dinner
                                                       Page 27                                                         Page 29
 ·1· ·A.Uh-huh (yes).                                            ·1· ·on board the cruise we’re talking about, up --- leading
 ·2· ·Q.Right?                                                   ·2· ·up to this incident?
 ·3· ·A.Yes.                                                     ·3· ·A.Yes.· We usually had a meeting place on the ship,
 ·4· ·Q.When you say there was another January cruise, was       ·4· ·so we’d know --- you know, it was really crowded.· We’d
 ·5· ·that ---?                                                  ·5· ·know where to find each other.
 ·6· ·A.February cruise.                                         ·6· ·Q.And following the incident on the fourth day or so
 ·7· ·Q.Okay.                                                    ·7· ·you described, did Eric keep joining everyone as he
 ·8· ·So there’s only one January cruise?                        ·8· ·normally did before the incident?
 ·9· ·A.One January.                                             ·9· ·A.I don’t remember him joining us.· He might have,
 10· ·Q.Right.· Thank you for cleaning that up.                  10· ·but I don’t remember him joining us.
 11· ·There’s a February 2018 cruise, which was also             11· ·Q.Okay.· All right.
 12· ·booked at the time you went on board the Ecstasy?          12· ·Did you --- I suppose the ship makes its way back
 13· ·A.Yes.                                                     13· ·to Charleston and everyone disembarks.
 14· ·Q.And were there any other cruises that were               14· ·Correct?
 15· ·prebooked even before getting on board the Ecstasy?        15· ·A.Correct.
 16· ·A.Yes.· I said there was one booked in April or May.       16· ·Q.Was it a seven-day cruise, as far as you recall?
 17· ·I forget.· Maybe both months.· I don’t remember.           17· ·A.Correct.
 18· ·But in December, I think it was in December, Eric          18· ·Q.Okay.
 19· ·had an offer from Carnival to go on a Premiere cruise.     19· ·What was the trip back from --- did you --- how’d
 20· ·He’d never been on a Premier cruise, to my knowledge.      20· ·you get back from Charleston back to Pennsylvania?
 21· ·And he really wanted to go on a Premier cruise.            21· ·A.We drove in my truck.
 22· ·And he bugged me, I don’t know, for a week or two          22· ·Q.And how was Eric during that ride?
 23· ·weeks, please go on that cruise, please go on that         23· ·A.He slept a lot.· Didn’t talk very much.· He was in
 24· ·cruise, please.                                            24· ·the front seat beside me.
 25· ·And I said, Eric, I really don’t want to, because          25· ·On the way down, he had volunteered to help me


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 ·1· ·drive, and I said no, I don’t need it, Eric.· On the      ·1· ·something, was below 20 and they were worried about
 ·2· ·way home he never volunteered anything.· He just was      ·2· ·her.· Her kidney functions --- her kidneys might shut
 ·3· ·quiet and once in a while would say something.· But he    ·3· ·down.
 ·4· ·slept a lot of the way home.                              ·4· ·And they said they had called Eric and given him
 ·5· ·Q.Did Eric ever tell you if, as a result of what          ·5· ·three options and that he never responded.
 ·6· ·happened on the ship, that he had any, you know,          ·6· ·I immediately went down, talked to Eric, and I
 ·7· ·complaints or problems?                                   ·7· ·told him, you know, LaurelWood called, Eric.· And you
 ·8· ·A.Well, yeah.· That’s why he told me he wasn’t going      ·8· ·have to make a decision here.· Either let LaurelWood
 ·9· ·on those other cruises I booked.· I know for two weeks    ·9· ·handle this or send her to the hospital and let the ER
 10· ·after I got home, I’d call and check on him, and he       10· ·--- let them handle it or call hospice in and let them
 11· ·would just say, I’m really sick, Bobby, I’m throwing      11· ·assign a nurse to take care of her during this time
 12· ·up, I’m dizzy, I just want to stay in bed.                12· ·period.
 13· ·And then when the day came to go on the February          13· ·And he said, I don’t know what to do, I don’t want
 14· ·cruise, I said, Eric, are we going to go, because I       14· ·her to die.· And I said, look, Eric, whatever you
 15· ·bought you airline tickets?· And he said no, I can’t      15· ·decide to do, you’re the Power of Attorney, I can’t say
 16· ·go, I’m too sick.                                         16· ·anything.· You’re the Power of Attorney.· Whatever you
 17· ·And then when it came time for the Premier cruise,        17· ·decide to do, I will back you 100 percent.· But you
 18· ·it was the same thing.· I can’t go.· I don’t feel --- I   18· ·have to make a decision tonight.· They have to know how
 19· ·don’t feel right.                                         19· ·to treat mom.
 20· ·Q.Okay.                                                   20· ·And then out of the clear blue sky, he just
 21· ·Following the February Tampa cruise and the April         21· ·exploded, calling me an F-ing gutless wonder, that he
 22· ·and May or thereabouts Premier cruise, did your           22· ·had to make all the decisions, I was afraid to make
 23· ·relationship with Eric change at all?                     23· ·a ---.· And I just looked at him and I said, Eric, what
 24· ·A.That’s a little hard to talk about, but yes.            24· ·are you talking about?· I just told you I would back
 25· ·After --- after my mom was in the nursing home and we     25· ·you.· Whatever decision you make, I’m behind you a
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 ·1· ·knew that she had to stay there, because she still kept   ·1· ·hundred percent and I know our brother, Greg, will
 ·2· ·falling, she was starting to suffer from Alzheimer’s.     ·2· ·listen to me and back you a hundred percent.· So what
 ·3· ·And the doctor felt it best that she stay there under     ·3· ·is the problem?
 ·4· ·24-hour supervision.· And we arranged that we would all   ·4· ·And then he just went off on, you don’t love me,
 ·5· ·go up.                                                    ·5· ·you no good son of a bitch, you never loved me.· You’ve
 ·6· ·Well, when she first went in December, my wife            ·6· ·never shown me any appreciation as a brother.· And I
 ·7· ·sent out a text saying that her mom had recently been     ·7· ·said, Eric, I don’t know what to say.· I’m stumped.
 ·8· ·there and she and her sisters work out a time frame       ·8· ·And then he just screamed, get the fuck out of my
 ·9· ·when they could not be there the same day, but try and    ·9· ·house and never come back.· I never want to see you
 10· ·be there every day of the week.                           10· ·again.· And I walked out the door and I said, okay, if
 11· ·And my wife sent a text to Ricky and Amanda and           11· ·that’s what you want.
 12· ·Eric stating the same thing.· Can we set up a time        12· ·And I haven’t talked to him since that day.
 13· ·frame, so that we’re not all there the same day and we    13· ·Q.Had Eric ---?
 14· ·can space it out?                                         14· ·A.Eric.
 15· ·And Eric wrote back to my wife that he doesn’t            15· ·Q.Had Eric, your younger brother, ever talked to you
 16· ·care how we do it, but he’s going to try and see mom      16· ·that way?
 17· ·every day of the week.                                    17· ·A.No.
 18· ·And then after this, he had the incident on the           18· ·Q.The events you just described, would that have
 19· ·ship, and he was nauseated and weak and sick.· And he     19· ·been four --- about four or five months after this
 20· ·quit seeing my mom.· Every once in a while Amanda or      20· ·incident on the ship?
 21· ·Ricky would take him up to see her.· And he just was      21· ·A.No.· That would have been --- oh, yeah.· That
 22· ·staying in bed sick.                                      22· ·would have been --- let’s see.· February, March, April.
 23· ·And then one night, LaurelWood, where she was             23· ·Probably closer to three months.· Somewhere in there,
 24· ·staying, they called me and said they had contacted       24· ·maybe.
 25· ·Eric and that my mom’s kidney functions, GFR or           25· ·Q.Somewhere in there?

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 ·1· ·A.Between three and four months.· That’s when that         ·1· ·occasionally his daughter would text my wife and tell
 ·2· ·occurred.                                                  ·2· ·my wife how sick he was.
 ·3· ·Q.Had Eric already decided --- before this, can I          ·3· ·Q.And we’re going to take the daughter’s depo later,
 ·4· ·call it a blowup, just so we know what we’re talking       ·4· ·so I think we’ll leave that for there.
 ·5· ·about?· Had Eric already decided he wasn’t going to go     ·5· ·ATTORNEY BRAIS:
 ·6· ·on the Premier cruise?                                     ·6· ·Sir, I don’t have anything more.· Thank
 ·7· ·A.You mean before the incident?                            ·7· ·you.
 ·8· ·Q.Before the blowup.                                       ·8· · · · · · · · · · · · · · ---
 ·9· ·A.Oh, the Premier cruise was before the blowup.            ·9· · · · · · · · · · · · EXAMINATION
 10· ·Q.Okay.· That’s what I’m getting at.                       10· · · · · · · · · · · · · · ---
 11· ·All right.· And then comes this blowup, whatever -         11· ·BY ATTORNEY SCARRY:
 12· ·-- three, four, whatever the number of months later        12· ·Q.Good morning, Mr. Ewing.
 13· ·after the incident.                                        13· ·This is Brian Scarry.
 14· ·Had he ever swore at you the way he swore at               14· ·Are you able to hear me okay?
 15· ·you ---                                                    15· ·A.Yes, I am.
 16· ·A.Never.                                                   16· ·Brian --- Brian, excuse me.· But please, I’m a
 17· ·Q.--- during the blowup?                                   17· ·little hard of hearing, so I might ask you to repeat
 18· ·A.Never.· I never would have let him do that.· As          18· ·something.
 19· ·his teacher, as his football coach, no.· Never.· Never     19· ·Q.If you do that, it’s fine.· I will speak slowly
 20· ·had he ever swore at me before.                            20· ·and clearly.· And I’ll do my best to make everything
 21· ·Q.Had he ever thrown you out of the house before the       21· ·clear and understandable.
 22· ·incident, the blowup you’re describing?                    22· ·A.Thank you.
 23· ·A.No.                                                      23· ·Q.Before I go onto my questions, I will probably be
 24· ·If I might say, I gave him that house.                     24· ·asking you questions for at least as long as Mr. Brais
 25· ·Q.So your mom and he could stay there?                     25· ·did.
                                                       Page 35                                                         Page 37
 ·1· ·A.Yes.                                                     ·1· ·So before I start, would you like to take a short
 ·2· ·Q.After he said what he said, did you --- as the           ·2· ·break right now before I begin?
 ·3· ·owner of that --- well, first of all, when you said you    ·3· ·A.No, that’s okay, sir.
 ·4· ·gave it to him, who’d you give it to?                      ·4· ·Q.All right, then.
 ·5· ·A.To both of them.· I transferred it, the deed from        ·5· ·I represent the Defendant here, Carnival
 ·6· ·my name to my mom and my brother.                          ·6· ·Corporation.· And I will repeat what Mr. Brais
 ·7· ·Q.Okay.                                                    ·7· ·explained.· And that is if I ask a question that you
 ·8· ·A.And that, again, was appreciation for him looking        ·8· ·don’t understand, let me know and I will be happy to
 ·9· ·after my mom for so many years.                            ·9· ·rephrase it.
 10· ·Q.The 20 years or so you mentioned?                        10· ·ATTORNEY BRAIS:
 11· ·A.Yes.                                                     11· ·He’s hovering --- so you don’t know, I
 12· ·Q.So if I asked you, other than this several months        12· ·know.· I’m trying to help you here.· He’s hovering over
 13· ·--- three, four months after this event and the blowup,    13· ·the phone, so he hears you well enough.· If you feel
 14· ·if I asked you what Eric’s been doing or not doing, I      14· ·comfortable, you could march through your questions.
 15· ·guess you’d have very little information, because you      15· ·And then if he can’t understand.· I just
 16· ·haven’t really either talked to him or saw him ever        16· ·didn’t want you to labor too deliberately, because it’s
 17· ·since the blowup?                                          17· ·a pretty good Spiderphone is what I’m trying to tell
 18· ·ATTORNEY SCARRY:                                           18· ·you.
 19· ·Objection.                                                 19· ·ATTORNEY SCARRY:
 20· ·BY ATTORNEY BRAIS:                                         20· ·Okay.· That’s fine.
 21· ·Q.Is that --- would that be true?                          21· ·BY ATTORNEY SCARRY:
 22· ·A.Can I talk?                                              22· ·Q.Sir, you live in Jerome, Pennsylvania.
 23· ·Q.Yeah.                                                    23· ·Correct?
 24· ·A.Well, yeah.· As far as me ever having contact            24· ·A.Yes.
 25· ·either oral or written or visual, no, I have not.· But     25· ·Q.And the home that your brother presently lives in,

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 ·1· ·is that also in Jerome?                                 ·1· ·from the cruise and she still was suffering from
 ·2· ·A.Yes.                                                  ·2· ·dizziness, and we then took her ---.· And she got real
 ·3· ·Q.And I’m unfamiliar with Jerome, but could you tell    ·3· ·sick.· And we took her to the hospital.
 ·4· ·me how many miles is it between your home and your      ·4· ·And then they admitted her and they kept her
 ·5· ·brother’s?                                              ·5· ·there, oh, golly, I can’t remember how long.· And then
 ·6· ·A.Well, Jerome’s not a big town, sir.· I’d say          ·6· ·the doctor recommended that she go to a nursing home
 ·7· ·three-quarter of a mile.                                ·7· ·for recovery, so they could work on rehabilitating her
 ·8· ·Q.Oh, so less than one mile separates your home and     ·8· ·as far as physical activity goes.
 ·9· ·his?                                                    ·9· ·And then we’d go from there, to see how she
 10· ·A.Somewhere around there.                               10· ·recovered.· And then it was in December that the
 11· ·Q.Okay.                                                 11· ·decision was made that she had not --- she was not
 12· ·And you mentioned earlier that the home that he         12· ·making enough progress to go home.· That she would stay
 13· ·lived in --- did I understand you correctly that you    13· ·there longer than the one or two weeks they first said,
 14· ·previously owned that house.                            14· ·so she could continue to get physical therapy.
 15· ·Is that accurate?                                       15· ·Q.Did your mother ever return to the home that your
 16· ·A.Yes.                                                  16· ·brother resides in?
 17· ·Q.And when was it that you deeded that house to your    17· ·A.No.
 18· ·brother, Eric, and your mother?                         18· ·Q.And I apologize, but I have to ask, is your mother
 19· ·A.I don’t know.· I don’t remember.                      19· ·still alive?
 20· ·Q.Was it before your brother had the surgery, where     20· ·A.Yes.
 21· ·they cut his chest open?                                21· ·Q.And she still lives in that same nursing home you
 22· ·A.I can’t answer that either.· I don’t know. I          22· ·mentioned before?
 23· ·don’t remember.                                         23· ·A.Yes.
 24· ·Q.Are you aware that your brother underwent a --- a     24· ·Q.And is she infirmed because of an Alzheimer’s or
 25· ·significant chest surgery in 2005?                      25· ·dementia type of ailment?
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 ·1· ·A.Okay.· That was the one in Pittsburgh.· Yes, I        ·1· ·A.Partially.· But the main thing is she still keeps
 ·2· ·think.                                                  ·2· ·falling.· I don’t know how many times she’s fallen
 ·3· ·Q.Would I be correct, you know he had the surgery       ·3· ·while she’s there.· They now have a bed pad on --- pad
 ·4· ·for his chest, you’re just not sure what year it        ·4· ·on the bed that if she gets out of bed, it immediately
 ·5· ·occurred?                                               ·5· ·starts warning the nurses to come and check on her, to
 ·6· ·Is that fair?                                           ·6· ·help her so she doesn’t fall if she goes to the
 ·7· ·A.Yes.                                                  ·7· ·bathroom.
 ·8· ·Q.Do you have a recollection as to whether you          ·8· ·Q.Would I be correct, Mr. Ewing, that the last time
 ·9· ·deeded him the house before that surgery?               ·9· ·you saw your brother was in approximately April of
 10· ·A.I believe it was after, but I can’t guarantee         10· ·2018?
 11· ·that.                                                   11· ·A.Somewhere in there.
 12· ·Q.Okay.                                                 12· ·Q.And you have not spoken to him since then.
 13· ·ATTORNEY BRAIS:                                         13· ·Correct?
 14· ·Form.· Move to strike.                                  14· ·A.No, I have not spoken to him.
 15· ·BY ATTORNEY SCARRY:                                     15· ·Q.And you have no firsthand knowledge of his present
 16· ·Q.And am I correct that your mother accompanied you     16· ·medical condition.
 17· ·on a Carnival cruise in December --- I’m sorry,         17· ·Is that correct?
 18· ·November of 2017?                                       18· ·A.I have none.· Not firsthand, no.
 19· ·A.Yes.                                                  19· ·Q.And you have no firsthand knowledge of what
 20· ·Q.And that is the last cruise she went on with you      20· ·medications he’s taking at the present time.
 21· ·and the family?                                         21· ·Is that correct?
 22· ·A.Yes.                                                  22· ·A.That’s correct.
 23· ·Q.When was it that your mother was required to live     23· ·Q.But you have no present or firsthand information
 24· ·in the nursing home?                                    24· ·as to which physicians your brother has seen since
 25· ·A.I can’t give you an exact date.· When we came home    25· ·April of 2018.

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 ·1· ·Correct?                                                  ·1· ·Q.That’s fine.· I’ll rephrase it, sir.
 ·2· ·A.No, not entirely.· I know my niece, who takes Eric      ·2· ·My question is, before you went on the cruise in
 ·3· ·everywhere, would text my wife and say she’s taking       ·3· ·January 2018, did you ever hear your brother complain
 ·4· ·Eric to a doctor at the VA in Pittsburgh or she’s         ·4· ·that he was having blurry vision?
 ·5· ·taking Eric to some pain doctor.                          ·5· ·A.Not that I remember.
 ·6· ·But never to me.· Always she would text my wife           ·6· ·Q.Before that cruise, did you ever hear your brother
 ·7· ·and tell her this.· So I have limited knowledge of what   ·7· ·make a complaint of having white spots in his vision?
 ·8· ·was happening.                                            ·8· ·A.No, I never did.
 ·9· ·Q.Before the cruise you went on in January 2018,          ·9· ·Q.Before that cruise in January 2018, had your
 10· ·were you aware that your brother was on a full            10· ·brother ever told you that he suffered from occasions
 11· ·disability status?                                        11· ·of dizziness?
 12· ·A.You mean with Social Security or the VA?                12· ·A.Did you say dizziness?
 13· ·Q.Well, I’m glad you pointed that out.                    13· ·Q.Yes, I did.· Dizziness.
 14· ·Were you aware before the cruise that your brother        14· ·A.No.
 15· ·was on a full veteran’s disability?                       15· ·Q.Before the accident on the cruise in January 2018,
 16· ·A.Well, he wasn’t full.· He was like 30 percent, I        16· ·had your brother ever told you that he had lumbar spine
 17· ·think, on veteran’s.                                      17· ·pain or lumbar back pain?
 18· ·Q.And what was your understanding of his disability       18· ·A.No.
 19· ·status under the Social Security Administration?          19· ·Q.When you went on the cruise with your brother in
 20· ·A.I believe it was a hundred percent.· I don’t know       20· ·January 2018, what was your general understanding of
 21· ·how that works, but I guess he was a hundred percent.     21· ·the types of medications that your brother took on a
 22· ·I know he was on Social Security Disability.              22· ·daily basis?
 23· ·ATTORNEY BRAIS:                                           23· ·A.I can’t answer.· I don’t know.
 24· ·Move to strike.                                           24· ·Q.Do you have --- or, I should say, at the time you
 25· ·BY ATTORNEY SCARRY:                                       25· ·went on the cruise, did you have any knowledge of the
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 ·1· ·Q.And during the time that --- during the time that       ·1· ·fact that your brother did take certain medications on
 ·2· ·he resided in the house that he shared with your          ·2· ·a daily basis?
 ·3· ·mother, to your knowledge, did Eric have any occupation   ·3· ·A.Yes, I was aware of that.
 ·4· ·outside of the house?                                     ·4· ·Q.Did you have an understanding as to what symptoms
 ·5· ·A.I believe he was still working.· Yes, I believe he      ·5· ·or what problems your brother was taking daily
 ·6· ·was still working for several years when he moved back    ·6· ·medications for in January of 2018?
 ·7· ·in with my mother.· I believe.                            ·7· ·A.I --- I’m going to --- no, I can’t guess.· So I’m
 ·8· ·And then it was after that surgery in Pittsburgh,         ·8· ·going to have to say no.· I think, but I’m not sure, so
 ·9· ·I think, that --- you’re going back a lot of years,       ·9· ·I’m not going to say anything.
 10· ·though.                                                   10· ·Q.That’s fine.· That’s fine.
 11· ·Q.I realize that.· And I’m sure --- what I don’t          11· ·Do you have any knowledge of your brother having
 12· ·want, and I’m sure Mr. Brais does not want you to         12· ·to spend several days in the intensive care unit at a
 13· ·guess.                                                    13· ·local hospital in the last six months?
 14· ·A.Okay.                                                   14· ·A.No, I don’t.
 15· ·So I can’t say for sure.                                  15· ·Q.Do you have any knowledge of your brother going to
 16· ·Q.Let me ask a more temporal question, then.              16· ·the Conemaugh Hospital in May of 2019 and having to go
 17· ·At the time that you went on the cruise with your         17· ·to the intensive care unit?
 18· ·mother in November of 2017, to your knowledge, was Eric   18· ·A.I don’t know if that was the date, but I think
 19· ·working at that point in time?                            19· ·Amanda texted my wife something about that.· But I
 20· ·A.No, he was not.                                         20· ·don’t know if it was May or whenever.
 21· ·Q.Before the accident on the ship during the January      21· ·Q.When your brother was --- well, did you ever visit
 22· ·2018 cruise, did you ever hear your brother make a        22· ·your brother when he was in the hospital?
 23· ·claim of having blurry vision?                            23· ·A.I have had no contact with my brother since the
 24· ·A.I didn’t understand that question.· You kind of         24· ·blowup.
 25· ·broke up.                                                 25· ·Q.I want to ask you another question about the


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 ·1· ·house.· The house that Eric is presently living in, was   ·1· ·Q.What is the nature of your disability, sir?
 ·2· ·this a house that your family grew up in ---              ·2· ·A.Agent Orange.· I suffer from Parkinson’s,
 ·3· ·A.No.                                                     ·3· ·polyneuropathy, Type II diabetes.· I’ve been cut open
 ·4· ·Q.--- when you were a child?                              ·4· ·eight times, organs removed.
 ·5· ·A.I apologize for interrupting you.                       ·5· ·Q.The day that you had the blowup with your brother,
 ·6· ·No, it was not.                                           ·6· ·am I correct, that took place at the house that you
 ·7· ·Q.Was that a house that you yourself and your wife        ·7· ·deeded to him and your mother?
 ·8· ·owned and lived in?                                       ·8· ·A.Yes.
 ·9· ·A.No.                                                     ·9· ·Q.And do you know what type of medications your
 10· ·Q.How did you ---?                                        10· ·brother was taking on a daily basis on the day that
 11· ·A.I did own it, though.· I did own it, but we didn’t      11· ·that blowup occurred between the two of you?
 12· ·--- never lived in it.                                    12· ·ATTORNEY BRAIS:
 13· ·Q.Tell me how did you acquire ownership of that           13· ·Form.
 14· ·house, sir.                                               14· ·THE WITNESS:
 15· ·A.It went up for sheriff’s sale.· My uncle bought it      15· ·I’d like to say asked and answered,
 16· ·and he sold it to me because my parents wanted to move    16· ·because I see that on TV.
 17· ·back from Florida.· So after I bought the house from my   17· ·You already asked me that question. I
 18· ·uncle, I went in, I gutted the house.· I redid            18· ·don’t know.
 19· ·everything in the house, so they would have a place to    19· ·BY ATTORNEY SCARRY:
 20· ·live when they moved back.                                20· ·Q.Well, this is a slightly different one.
 21· ·Q.And would I be correct, you lived in another home       21· ·A.Okay.
 22· ·in Jerome, Pennsylvania?                                  22· ·Q.I’m asking on the day that the blowup occurred,
 23· ·A.Yes.· I built a house in Jerome.                        23· ·did you know what type of medicines your brother was
 24· ·Q.Are you presently employed, sir?                        24· ·taking on a daily basis?
 25· ·A.Retired.                                                25· ·A.No.
                                                      Page 47                                                        Page 49
 ·1· ·Q.Were you a teacher for your career?                     ·1· ·Q.You testified earlier about the two cruises that
 ·2· ·A.Not the whole career, but 30-some years, I was.         ·2· ·you had booked for the 2018 year.· I believe one was in
 ·3· ·Q.And what other lines of work were you in when you       ·3· ·February and then there was one you called a Premier
 ·4· ·worked?                                                   ·4· ·cruise.
 ·5· ·A.All of them?                                            ·5· ·Do you recall that?
 ·6· ·Q.Yes.                                                    ·6· ·A.Yes.
 ·7· ·A.I started off 15 and a half as a busboy in a            ·7· ·Q.And there’s a cruise line ---.· Was it the ---
 ·8· ·restaurant in California.· I later became assistant       ·8· ·when you say the Premier cruise, was that with Carnival
 ·9· ·manager of that restaurant.                               ·9· ·or another cruise line?
 10· ·I worked in an airport refueling airplanes.· I got        10· ·A.Carnival.
 11· ·drafted, sent to Vietnam.· Came home.· Went to work in    11· ·Q.And when did you book the cruise?· I’m sorry.
 12· ·Florida in construction.                                  12· ·When did you book the Premier cruise that you were
 13· ·Moved back to Pennsylvania.· Met my wife in               13· ·intending to go on?
 14· ·college.· I went back to finish my college.· Graduated    14· ·A.Honestly, I don’t remember.· Late July, early ---
 15· ·from Pitt, and there was no teaching positions open       15· ·July.· Late December, early January, somewhere in
 16· ·then.· I worked --- went to work in the coal mines for    16· ·there.
 17· ·two years.                                                17· ·Before the January cruise.· That’s all I know.
 18· ·Got into a cave-in, injured my back, and decided          18· ·Q.Okay.· Okay.
 19· ·to go back, get my Master’s, which I did at St.           19· ·Before you had the blowup with your brother, did
 20· ·Francis.· And then an opening occurred at a local         20· ·you ever go to any of his doctors’ appointments after
 21· ·school district, I believe, in ‘88 or ‘89.· And then I    21· ·the January 2018 cruise?
 22· ·taught there until I retired in 2008, I believe, 2009.    22· ·A.No.
 23· ·Q.And have you been retired continuously since 2008,      23· ·And sir, can I back up for one second?· I just
 24· ·2009?                                                     24· ·remembered something.
 25· ·A.I’ve been a hundred percent disabled.                   25· ·That Premier cruise, I don’t know if I booked it

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 ·1· ·or Eric booked it.· If he booked it, I paid him for it.    ·1· ·Okay?
 ·2· ·Or I booked it, it’s on my credit card.· You can check.    ·2· ·A.Sure.
 ·3· ·But I can’t remember which one of us, on the               ·3· ·Q.Am I correct that it was your wife who brought to
 ·4· ·record, booked it.                                         ·4· ·your attention that your brother might be hurt?
 ·5· ·Q.And after your mother went into the nursing home,        ·5· ·Is that correct?
 ·6· ·were you and your brother ever able to set up this         ·6· ·A.Correct.
 ·7· ·schedule, where you would rotate either between you,       ·7· ·Q.And when you went to his cabin, did you go to his
 ·8· ·the brother or the family, so that somebody would visit    ·8· ·cabin alone?
 ·9· ·with your mom each day?                                    ·9· ·A.Yes.
 10· ·A.He didn’t want to do that.· He just wanted to go         10· ·Q.And how did you enter the cabin?
 11· ·every time he could.                                       11· ·In other words, was the door open?· Did you knock?
 12· ·Q.To your knowledge, does your brother continue to         12· ·Did somebody open the door for you?
 13· ·visit with your mom on occasion?                           13· ·A.The door ---.
 14· ·A.On occasion, yes.· But I don’t know for sure             14· ·Q.Do you remember how you got in?
 15· ·because I don’t have contact with him.                     15· ·A.The door was open, I believe.
 16· ·Q.When you were on the ship, Mr. Ewing, on how many        16· ·Q.And when you entered the cabin, were one or both
 17· ·occasions did you yourself go to the ship doctor with      17· ·of the bunk beds in the down open position?
 18· ·your brother?                                              18· ·A.Just one.
 19· ·A.You mean on that specific cruise?                        19· ·Q.Is that the one your brother said had hit him?
 20· ·Q.Yes, sir.                                                20· ·A.Well, yes, because his bed was right underneath
 21· ·A.One time.                                                21· ·that bed.
 22· ·Q.And on that one time, is that when you saw the two       22· ·Q.Did you yourself look at your brother’s head?
 23· ·security men with the gold and silver badges?              23· ·A.Yes.
 24· ·A.Correct.                                                 24· ·Q.And did you see any evidence of physical injuries
 25· ·Q.And on that one time, is that when you and your          25· ·to his head?
                                                       Page 51                                                         Page 53
 ·1· ·brother walked down to the infirmary?                      ·1· ·A.I saw either --- it was either a red mark or there
 ·2· ·A.I honestly don’t remember exactly if we walked           ·2· ·was dried blood.· I can’t remember which.· But I
 ·3· ·down or there was a wheelchair there.· I don’t remember    ·3· ·remember seeing something red there.· And I asked him
 ·4· ·exactly.· All I know is we ended up in the infirmary.      ·4· ·about it and he said that’s where he got hit.
 ·5· ·Q.Besides yourself and your brother, did any other         ·5· ·Q.And did he tell you what had happened to him?
 ·6· ·family members go to the medical center with you?          ·6· ·A.Yeah, he said he was sitting there getting ready
 ·7· ·A.No.                                                      ·7· ·to eat or eat and the bunk come flying down and hit him
 ·8· ·Q.And I understand your background as a high school        ·8· ·on the head.
 ·9· ·football coach and --- which is something my brother       ·9· ·Q.And when he told you that, did you call any of the
 10· ·does, actually.· And I’m wondering if you have any         10· ·ship’s doctors or staff, or did you walk to the
 11· ·formal training on the recognition or diagnosis of         11· ·doctor’s office with your brother?
 12· ·concussion?                                                12· ·ATTORNEY BRAIS:
 13· ·A.All I know is in the ‘80s, I did watch some              13· ·Asked and answered.
 14· ·filmstrips on it.· We had a trainer.· And I talked to      14· ·THE WITNESS:
 15· ·him about it, about what to do, what my legal              15· ·I didn’t make any calls.· Somehow, he ---
 16· ·responsibilities were about putting a player back in if    16· ·I think he had contacted them.· And I don’t know much
 17· ·they had a concussion.                                     17· ·about that, because I know my wife said, ask Eric if he
 18· ·So I had limited knowledge.· But more than the             18· ·--- or Eric volunteered to her that he had contacted
 19· ·average guy on the street.                                 19· ·guest services.
 20· ·Q.Did you walk back to your brother’s cabin with the       20· ·Now, anything that might have happened
 21· ·two security guards with the badges?                       21· ·before I got to that room, I don’t know.· And he never
 22· ·A.I don’t know if they walked with us, but they were       22· ·shared it with me.· But all I do remember is we went
 23· ·there in the room with us.                                 23· ·down to the infirmary.
 24· ·Q.Let me ask you a few questions about before you          24· ·BY ATTORNEY SCARRY:
 25· ·went to the doctor on the ship.                            25· ·Q.When you were in the infirmary with your brother,

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 ·1· ·do you have a recollection of the doctor using a         ·1· ·A.Well, some things.· Was I on that cruise and did I
 ·2· ·flashlight and shining it into your brother’s eyes?      ·2· ·see things.· And I’d say yes, and that was about it.
 ·3· ·A.She shined something into his eyes and said your       ·3· ·Q.And how long ago was it that you first spoke with
 ·4· ·pupils dilate.                                           ·4· ·Mr. Ewing’s attorney about what you saw and what you
 ·5· ·Q.Were you present with your brother during the          ·5· ·did on the cruise?
 ·6· ·whole examination?                                       ·6· ·A.He called me at the end of August and said there
 ·7· ·A.I sat there, yes.                                      ·7· ·was going to be a deposition, and when would I be free.
 ·8· ·Q.To your knowledge, has your wife seen your brother     ·8· ·And I told him we were going on a cruise at the
 ·9· ·since the two of you had the blowout back in early       ·9· ·beginning of September and I wouldn’t be free until the
 10· ·2018?                                                    10· ·end of September, and early October I’d be free.· And
 11· ·A.I think once.· I think once.· He needed help with      11· ·he said he’d get back in touch with me.
 12· ·something and she went down and helped him.· I think.    12· ·And then he sent a text to my wife, because I
 13· ·I know that they’re all on a text loop.                  13· ·don’t text, and told her that he wanted to meet with me
 14· ·Q.Okay.                                                  14· ·yesterday, to explain what was going to happen today.
 15· ·Do you have a recollection of what type of help          15· ·And that’s it.
 16· ·your wife furnished to your brother?                     16· ·Q.And did you have a face-to-face meeting with Mr.
 17· ·A.No idea.                                               17· ·Ewing’s lawyer yesterday?
 18· ·Q.Since the two of you had the blowout that you          18· ·A.Yes.
 19· ·described earlier, have you attempted to reach out to    19· ·Q.And was that at your home?
 20· ·your brother ---                                         20· ·A.No.
 21· ·A.No.                                                    21· ·Q.Where was it?
 22· ·Q.--- and reconcile your differences?                    22· ·A.Holiday Inn in Johnstown.
 23· ·A.No.                                                    23· ·Q.And then how long did the two of you talk?
 24· ·Q.Do you have any plans right now, Mr. Ewing, to         24· ·A.Oh, geez.· How long did he and I actually talk?
 25· ·reach out to your brother and try to reconcile your      25· ·Half hour or so.
                                                     Page 55                                                         Page 57
 ·1· ·differences?                                             ·1· ·Q.Yes.· That’s it?
 ·2· ·A.No.                                                    ·2· ·A.I mean, I was there longer, because my niece and
 ·3· ·Q.Mr. Ewing, how --- or let me put it this way.· Who     ·3· ·my nephew were also there.· So I just sat there while
 ·4· ·contacted you to ask about attending this deposition     ·4· ·he talked to them.· So it went longer than a half hour.
 ·5· ·today that we’re here for?                               ·5· ·But for my part, maybe a half hour.
 ·6· ·A.The lawyer who’s sitting here beside me.               ·6· ·Q.So at the meeting that you had with Mr. Ewing’s
 ·7· ·Q.And was it the lawyer who reached out to you first     ·7· ·lawyer, were your niece, Amanda, and your nephew,
 ·8· ·or was it one of your brother’s children or some other   ·8· ·Ricky, with you at the same time?
 ·9· ·person?                                                  ·9· ·A.Well, Amanda was at the beginning.· Then when
 10· ·A.I believe it was the lawyer’s secretary that first     10· ·Ricky got off work, he came in.
 11· ·called me and told me there was going to be a            11· ·Q.Okay.
 12· ·deposition.                                              12· ·And you and I have never met.
 13· ·Q.And before today’s deposition, have you spoke to       13· ·Right, Mr. Ewing?
 14· ·your brother’s lawyer about the process of giving the    14· ·A.No, we never have.
 15· ·deposition that you’re doing today?                      15· ·Q.And today’s the first time I’ve spoken to you and
 16· ·A.Yes.                                                   16· ·asked you any questions.
 17· ·Q.Like scheduling and what will happen and that type     17· ·Right?
 18· ·of thing?                                                18· ·A.Correct.
 19· ·A.Yes.                                                   19· ·Q.I just have a couple more here, Mr. Ewing, and
 20· ·Q.And did the other lawyer interview you and ask you     20· ·then we’ll be done.
 21· ·different questions about what you remembered?           21· ·Before the January 2018 cruise, had you ever gone
 22· ·A.Some questions, yes.                                   22· ·with your brother to any of his doctor appointments?
 23· ·Q.And those were questions that he asked you before      23· ·ATTORNEY BRAIS:
 24· ·today’s deposition.                                      24· ·Asked and answered.
 25· ·Right?                                                   25· ·THE WITNESS:

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 ·1· ·Yes, but I never sat in with him, because                  ·1· ·because ---?
 ·2· ·I would drive him to Altoona to the VA when he had to      ·2· ·A.No.· As a matter of fact, when we went on cruises,
 ·3· ·have an MRI or any other checkup.· But I never sat in      ·3· ·we went to San Juan.· He got off ship, walked all
 ·4· ·with him and a doctor.                                     ·4· ·around San Juan with us.
 ·5· ·BY ATTORNEY SCARRY:                                        ·5· ·When we went to Cozumel, he got off the ship,
 ·6· ·Q.So you would --- were you just furnishing the            ·6· ·walked all around Cozumel with us.· The same at Roatan.
 ·7· ·transportation?                                            ·7· ·So no, he wasn’t sick, to my knowledge.· He appeared
 ·8· ·A.Yes.                                                     ·8· ·--- or he walked a lot, so he appeared healthy then.
 ·9· ·Q.And you mentioned Altoona.· That’s the veterans’         ·9· ·Q.All right.
 10· ·clinic.                                                    10· ·ATTORNEY SCARRY:
 11· ·Correct?                                                   11· · · Mr. Ewing, I appreciate your patience
 12· ·A.Correct.                                                 12· ·today, and I have no more questions.· Thank you very
 13· ·Q.And how far of a drive is that, Mr. Ewing?               13· ·much.
 14· ·A.Fifty (50) miles.· It’s over 50 miles.· It may be        14· ·THE WITNESS:
 15· ·55 miles, I’m guessing.                                    15· ·Hold on, sir.· Sir?
 16· ·Q.Besides the Altoona clinic, were there any other         16· ·ATTORNEY SCARRY:
 17· ·facilities where you would drive your brother to them      17· ·Yes.
 18· ·for medical appointments?                                  18· ·THE WITNESS:
 19· ·A.I believe --- I believe I took him to Pittsburgh         19· ·Okay.
 20· ·VA once.· I’m not sure, because I hauled my uncle there    20· ·I was thinking about something as far as
 21· ·so many times before he died.                              21· ·when I met with that doctor and you said was I with him
 22· ·I’m thinking maybe once to the Pittsburgh VA.· And         22· ·the whole time the doctor examined.
 23· ·I believe several times to Johnstown VA --- or not         23· ·I don’t remember if I was with him the
 24· ·Johnstown VA, but the pain doctor in Johnstown.· Some      24· ·whole time.· But I do remember the doctor saying --- I
 25· ·doctor in Richland, I believe, I drove him to.             25· ·do remember the doctor either saying to me that he
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 ·1· ·Q.And on those occasions, was your brother not able        ·1· ·tested or she tested his eyes, his pupils for dilation,
 ·2· ·to drive?                                                  ·2· ·and then gave him the script.· That part’s a little
 ·3· ·In other words, was he not well enough to drive a          ·3· ·fuzzy.· But I do remember discussing concussions with
 ·4· ·car and that’s why you did it?                             ·4· ·the doctor and the fact that Eric’s eyes dilated at the
 ·5· ·A.No.· I had four-wheel drive.· It was the                 ·5· ·time.
 ·6· ·wintertime.                                                ·6· ·I just wanted to clarify that.
 ·7· ·Q.Was that the case for all of those appointments          ·7· ·And thank you.
 ·8· ·that you mentioned?                                        ·8· ·BY ATTORNEY SCARRY:
 ·9· ·A.Well, there were only a few that I mentioned.· And       ·9· ·Q.Okay.
 10· ·I believe yes.· I’m not sure.                              10· ·And just to be very clear, this is the doctor on
 11· ·Q.And what type of vehicle does your brother have          11· ·the ship.
 12· ·now?                                                       12· ·Correct?
 13· ·A.I don’t know.                                            13· ·A.Correct.
 14· ·Q.And do you know when the last time he drove a car        14· ·Q.Okay.
 15· ·was?                                                       15· ·ATTORNEY SCARRY:
 16· ·A.I don’t know.                                            16· ·All right.· Mr. Ewing, thank you very
 17· ·Q.At the time that you had the blowout with him, was       17· ·much.· I have no more questions.
 18· ·he driving a car then?                                     18· ·THE WITNESS:
 19· ·A.I don’t think.· I know he was sick a lot.· And I         19· ·Thank you, sir.
 20· ·don’t know if he drove or not.                             20· ·ATTORNEY BRAIS:
 21· ·Q.Were there times before the January 2018 cruise          21· ·No questions.
 22· ·that your brother was sick?                                22· ·VIDEOGRAPHER:
 23· ·A.Well, what do you mean by sick?                          23· ·Okay.
 24· ·Q.Well, for example, he wasn’t able to come out of         24· ·This ends the deposition.· The time is
 25· ·the house or he wasn’t able to go shopping for himself     25· ·11:34 a.m.

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 ·1· · · · · · · · · * * * * * * * *
 ·2· ·VIDEOTAPED DEPOSITION CONCLUDED AT 11:34 A.M.
 ·3· · · · · · · · · * * * * * * * *
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                                                          Page 63
 ·1· ·COMMONWEALTH OF PENNSYLVANIA· )
 ·2· ·COUNTY OF CAMBRIA· · · · · · ·)
 ·3· · · · · · · · · · · · CERTIFICATE
 ·4· ·I, Michael G. Sargent, a Certified Verbatim
 ·5· ·Reporter and Notary Public in and for the Commonwealth
 ·6· ·of Pennsylvania, do hereby certify:
 ·7· ·That the witness, Robert Ewing, Jr., whose
 ·8· ·testimony appears in the foregoing deposition, was duly
 ·9· ·sworn by me on 10/02/2019 and that the transcribed
 10· ·deposition of said witness is a true record of the
 11· ·testimony given by said witness;
 12· ·That the proceeding is herein recorded fully
 13· ·and accurately;
 14· ·That I am neither attorney nor counsel for, nor
 15· ·related to any of the parties to the action in which
 16· ·these depositions were taken, and further that I am not
 17· ·a relative of any attorney or counsel employed by the
 18· ·parties hereto, or financially interested in this
 19· ·action.
 20· ·Dated the 19th day of October, 2019
 21
 22· · · · · · · · · · · · · ________________
 23· · · · · · · · · · · · · Michael G. Sargent,
 24· · · · · · · · · · · · ·Certified Verbatim Reporter
 25



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